Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
Filed 01/06/11   Case 11-20442   Doc 1
